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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA              :         Hon. Stanley R, Chesler
                                                  Cnn. No. 09—501
               V.

                                                 CONTINUANCE ORDER
  ROBINSON BORDAMONTE,        et al.


               This matter having come before the Court
                                                        on the joint
  application of Paul J.        Fishman,      United States Attorney for the

  District of New Jersey        (by Leslie Faye Schwartz,          Assistant U.S.
  Attorney),    and defendants Robinson Bordamonte               (by Raymond F.
  Flood,   Esq.),     Kelvin Corbin,        (by Christopher Renfroe,     Esq.),    Leo
  Genese III        (by Pasquale F.    Giannetta,   Esq.),   and Peter
  Ventricelli        (by 1ichael Pedicini,      Esq.)   for an order granting a
  continuance of the proceedings in the above—
                                               captioned matter,                    and
  each of the defendants being aware that he has
                                                 a right to have
  the matter brought to trial within 70 days of
                                                the date of his
  appearance before a judicial officer of this court
                                                     pursuant to
  Title 18 of the United States Code,             Section 3161(c) (1),     and as
  the defendants have consented to an additiona contin
                                               l       uance,                     and
  for good and sufficient cause shown,

               IT IS THE FINDING OF THIS COURT that this action
                                                                should
 be continued for the following reasons:

               1.     Plea negotiations are currently in progress,            and
 both the United States and the defendants desire
                                                  additional time
 to finalize plea agreements,           which would render trial of this

 matter unnecessary;
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              2.    Defendants have consented to the aforementioned

  continuance;     and

              3,    Pursuant to Title 18 of the United States Code,

  Section 3161(h) (8),       the ends of justice served by granting the

  continuance outweigh the best interests of the public and the

  defendant in a speedy trial.

              WHEREFORE,         on this     /d       day of December 2009,

              IT IS ORDERED that trial in this matter is scheduled

  for February 3,        2010;    and

              IT IS FURTHER ORDERED that the period from December 1,

  2009,   through February 3,           2010,   shall be excludable in computing

  time under the Speedy Trial Act of 1974,               pursuant to Title 18,

  United States Code,        Section 3161(h) (8).




                                                HON. STANlEY R. CHESLER
                                                United States District Judge




  Consented to and                  to By:



  esiie F. Scnwartz,
  Assistant U.S. Attorney




  Counsel for                    Bordamonte
Case 2:09-cr-00501-SRC   Document 56   Filed 12/18/09   Page 3 of 6 PageID: 199




  Christopher  nfro,E
  Counsel for Kelvin Corbin




  Pascuale Giannetta, Esq.
  Counsel for Leo Genese




  Michael Pedicini, Esq.
  Counsel for Peter Ventricelli
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              2.    Defendants have consented to the aforementioned

 continuance;      and

              3.    Pursuant to Title 18 of the United States Code,

 Section 3161(h) (8),       the ends of justice served by granting the

  continuance outweigh the best interests of the public and the

  defendant   in a speedy trial.

              Wr-iERFORE,     on this                 day of December 2009,

              IT IS ORDRD that trial in this matter is scheduled

  for February 3,        2010; and

              IT IS FURTHER ORDERED that t2e period from December 1,

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  time under the Speedy Trial Act of 1974,               pursuant to Title 18,

  United States Code,        Section 3161(h) (8).




                                               HON. STANLEY R. CHESLER
                                               United States District Judge




MICHAEL N.    PICINI,        SQ
                                      T




                                                                                   TOTAL P.003
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                     IT S FURTHER ORDERED that the period from December 1,2009, through February 3,2010. shall be cxdudabie in


computing time under the SpeedyTnal Act of 1974, pursuant to Title 18. tJnitnd States Code, Section 3161(hX8).




                                                                      lOJ. SrANLEY R CFIESLER
                                                                      United States Disb4cLJudge
